                 Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 1 of 31




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


                                                    :
                                                    :
             PATRICIA M. TAUBER,                    :
                                                    :
                         Claimant,                  :    CIVIL ACTION NO.
                                                    :    1:04-CV-02552-RWS
                   v.                               :
                                                    :
             JO ANNE B. BARNHART,                   :
             COMMISSIONER OF SOCIAL                 :
             SECURITY,                              :
                                                    :
                         Defendant.                 :



                                                ORDER

                   Now before the Court are Claimant’s “Complaint Requesting Review of

             an Administrative Decision under the Social Security Act” [1-1] and

             Defendant’s Answer [3]. This matter comes before the Court for consideration

             of the Final Report and Recommendation [18] of United States Magistrate Joel

             M. Feldman. Having reviewed the record in this case, the Court adopts both the

             “History of the Case” and the “Evaluation of the Evidence” as set out in the

             Report and Recommendation [18] in Parts One and Four.




AO 72A
(Rev.8/82)
                 Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 2 of 31




                                                   Background

                    Claimant filed an application for a period of Disability Insurance Benefits

             under §§ 216(i) and 223(a) of the Social Security Act on June 11, 1997. In that

             application, she alleged she had become unable to work ten years earlier, on

             June 3, 1987, at age fifty, due to impairments in her back, legs, feet, stomach,

             hands, bowel and bladder; she was not able to sit or stand for any length of

             time; and she could not wear dress shoes for any length of time.

                    Claimant’s application was denied initially on October 15, 1997, and on

             reconsideration on October 20, 1997. Claimant received a de novo hearing

             before an Administrative Law Judge (ALJ) and, on January 30, 1998, a decision

             adverse to Claimant was rendered. As part of that decision, the ALJ found that

             Claimant “lacked the residual functional capacity [(RFC)] to lift and carry more

             than 10 pounds frequently and 20 pounds occasionally, and perform activities

             requiring frequent bending. She also required a sit/stand option1.” (Tr. 20.)


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                      The “sit/stand option,” as noted in the pre-remand ALJ decision, is essentially
             the ability to alternate between sitting and standing. A Social Security Ruling governing
             the consideration of the RFC to perform sedentary work suggests that the ALJ should
             consider allowing the claimant to “alternate sitting and standing.” Social Security Ruling
             96-9p. While the “sit/stand option” suggested by Social Security Ruling 96-9p refers to
             the need to stand after sitting for a period of time, it appears that in Claimant’s case the
             “sit/stand option” refers to a need to sit after standing for a period of time.

                                                          2




AO 72A
(Rev.8/82)
                 Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 3 of 31




             Claimant submitted further medical records to the Appeals Council and

             requested review. On August 25, 1999, the Appeals Council declined further

             review and thereby adopted the ALJ’s decision as the final decision of the

             Commissioner.

                   Claimant appealed the Commissioner’s decision and, on November 6,

             2000, United States District Judge Marvin H. Shoob adopted the Report and

             Recommendation of Magistrate Judge Feldman and affirmed the

             Commissioner’s decision. Claimant then appealed to the Eleventh Circuit.

                   On March 7, 2001, upon a joint Motion for Remand for further

             administrative proceedings, the Eleventh Circuit panel remanded the case,

             specifically adopting the parties’ basis for remand–namely, to “develop the

             requirements of [Claimant]’s past relevant work and to hold a new

             administrative hearing with vocational expert testimony in order to determine

             what jobs, if any, [were] appropriate for [Claimant].” (Tr. 456-57.) On July 9,

             2001, the District Court remanded the case to the Commissioner.

                   The Appeals Council remanded the case for further proceedings, and at a

             new hearing on December 21, 2001, the ALJ received testimony from Claimant,

             her husband, and Dr. John Blakeman who testified as the Agency’s vocational

                                                    3




AO 72A
(Rev.8/82)
                 Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 4 of 31




             expert. On July 26, 2002, the ALJ issued a decision denying Disability

             Insurance Benefits, finding that Claimant had a RFC to “perform light exertion

             level work with occasional restrictions against bending, stooping or crouching”

             and that her past relevant work did not require the performance of activities

             precluded by her RFC. (Tr. 451.)2 On July 22, 2004, the Appeals Council


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                       Specifically the ALJ found:

                                    1. The claimant met the nondisability requirements
                            for a period of disability and Disability Insurance Benefits
                            set forth in Section 216(i) of the Social Security [Act] and
                            was insured for benefits . . . during the period under
                            consideration, but not thereafter. The claimant has failed to
                            establish that she was under a disability prior to September
                            30, 1990, her date last insured under Title II of the Social
                            Security Act.
                                    2. The claimant did not engage in substantial gainful
                            activity during the period under consideration.
                                    3. The claimant, from June 3, 1987 to [September] 30,
                            1990, the period under consideration, had impairments of
                            hypothyroidism, B12 deficiency, and degenerative disc
                            disease, considered “severe” based on the requirements in
                            the Regulations 20 CFR § 404.1520(b).
                                    4. These medically determinable impairments did not
                            meet or medically equal one of the listed impairments in
                            Appendix 1, Suppart P, Regulation No. 4 during the period
                            under consideration.
                                    5. The undersigned finds the claimant’s allegations
                            regarding her limitations during the period under
                            consideration are not totally credible for the reasons set forth
                            in the body of the decision.
                                    6. The claimant had the residual functional capacity
                            during the period under consideration to perform light

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AO 72A
(Rev.8/82)
                  Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 5 of 31




             denied Claimant’s request for further review, and the ALJ’s second opinion,

             therefore, became the Commissioner’s final opinion. On July 26, 2004,

             Claimant appealed the Commissioner’s decision to this Court.

                                                    Discussion

             I.     Standard of Review

                    Under the Social Security Act, “[t]he court shall have power to enter,

             upon the pleadings and transcript of the record, a judgment affirming,

             modifying, or reversing the decision of the Commissioner of Social Security,




                           exertion level work with occasional restrictions against
                           bending, stooping or crouching.
                                   7. The claimant’s past relevant work as [a] file clerk,
                           leasing agent/assistant apartment manager, and flower
                           arranger did not require the performance of work-related
                           activities during the period under consideration that were
                           precluded by her residual functional capacity (20 CFR §
                           404.1565).
                                   8. The claimant’s medically determinable
                           impairments of hypothyroidism, B12 deficiency, and
                           degenerative disc disease from June 3, 1987 to September
                           30, 1990, the period under consideration, did not prevent the
                           claimant from performing her past relevant work.
                                   9. The claimant was not under a “disability” as
                           defined in the Social Security Act, at any time from June 3,
                           1987 to September 30, 1990, the period under consideration
                           in this decision (20 CFR § 404.1520(e)).

                    (Tr. 451.)

                                                         5




AO 72A
(Rev.8/82)
                 Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 6 of 31




             with or without remanding the cause for a rehearing.” 42 U.S.C. § 405(g).

             Judicial review, however, is limited to determining whether the Commissioner’s

             findings are supported by substantial evidence in the record and whether the

             Commissioner applied the correct legal standards. Moore v. Barnhart, 405 F.3d

             1208, 1211 (11th Cir. 2005); Dyer v. Barnhart, 395 F.3d 1206, 1210 (11th Cir.

             2005). Substantial evidence is “more than a scintilla, but less than a

             preponderance,” or rather “such relevant evidence as a reasonable person would

             accept as adequate to support a conclusion.” Hale v. Bowen, 831 F.2d 1007,

             1011 (11th Cir. 1987).

                   If the Commissioner’s decision is supported by substantial evidence, the

             Court must affirm it. Dyer, 395 F.3d at 1210; Cranford v. Comm’r of Soc. Sec.,

             363 F.3d 1155, 1158-59 (11th Cir. 2004); Ellison v. Barnhart, 355 F.3d 1272,

             1275 (11th Cir. 2003). The ALJ has the exclusive power to resolve conflicts in

             the evidence. See Wheeler v. Heckler, 784 F.2d 1073, 1075 (11th Cir. 1986);

             Arnold v. Heckler, 732 F.2d 881, 884 (11th Cir. 1984). However, the ALJ must

             state the weight accorded to each item of evidence and the reason for his or her

             conclusion. Hale, 831 F.2d at 1011; Hudson v. Heckler, 755 F.2d 781, 786

             (11th Cir. 1985). The court may not re-weigh the evidence or substitute its own

                                                     6




AO 72A
(Rev.8/82)
                  Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 7 of 31




             judgment for that of the Commissioner, even if the evidence preponderates

             against that decision. Martin v. Sullivan, 894 F.2d 1520, 1529 (11th Cir. 1990);

             Baker o/b/o Baker v. Sullivan, 880 F.2d 319, 321 (11th Cir. 1989).

                    The Court must further be satisfied that the Commissioner’s decision is

             grounded in the proper application of the appropriate legal standards.

             McRoberts v. Bowen, 841 F.2d 1077, 1080 (11th Cir. 1988); Graham v. Bowen,

             790 F.2d 1572, 1575 (11th Cir. 1986). There is no presumption that the legal

             standard applied by the Commissioner was valid, or that it was properly

             applied. Lamb v. Bowen, 847 F.2d 698, 702 (11th Cir. 1988). Moreover, the

             application of a wrong legal standard is grounds for remand. See Moncrief v.

             Gardner, 357 F.2d 651 (5th Cir. 1966).3

             II     Entitlement to Benefits

                    A claimant is entitled to receive disability benefits when she is unable to

             “engage in any substantial gainful activity by reason of any medically

             determinable physical or mental impairment which can be expected to result in



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                      The Eleventh Circuit adopted as binding precedent all Fifth Circuit decisions
             prior to October 1, 1981, and all Fifth Circuit Unit B decisions after October 1, 1981. See
             Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc); Stein v.
             Reynolds Secs., Inc., 667 F.2d 33, 33 (11th Cir. 1982).

                                                         7




AO 72A
(Rev.8/82)
                 Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 8 of 31




             death or which has lasted or can be expected to last for a continuous period of

             not less than 12 months.” 42 U.S.C. § 423(d)(1)(A). In evaluating whether an

             individual is disabled under § 423(d)(1)(A), the Commissioner must engage in a

             five-part sequential evaluation4 as set out in 20 C.F.R. § 404.1520. Phillips v.

             Barnhart, 357 F.3d 1232, 1237 (11th Cir. 2004).

                    Claimant raises three issues in her request for review: (1) that the ALJ did

             not provide a sufficient “narrative discussion” in the RFC assessment at step

             four of the five-part test and did not consider a “sit/stand option,”

             (Claimant’s Br. [9-1] at 17-24); (2) that the ALJ dismissed Dr. Clark’s opinion


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                        The five-step sequential evaluation requires consideration of the following:

                     (1) If the claimant is “doing substantial gainful activity, [the Commissioner] will
             find that [the claimant is] not disabled.” 20 C.F.R. §§ 404.1520(a)(4)(i) & (b) (2006).
                     (2) If the claimant does not “have a severe medically determinable physical or
             mental impairment that meets the duration requirement in § 404.1509, or a combination
             of impairments that is severe and meets the duration requirement, [the Commissioner]
             will find that [the claimant is] not disabled.” Id. at §§ 404.1520(a)(4)(ii) & (c).
                     (3) “If [the claimant has] an impairment(s) that meets or equals one of [the listed
             disabilities] and meets the duration requirement, [the Commissioner] will find that [the
             claimant is] disabled.” Id. at §§ 404.1520(a)(4)(iii) & (d).
                     (4) Considering the Commissioner’s assessment of the claimant’s RFC, if the
             claimant “can still do [his or her] past relevant work, [the Commissioner] will find that
             [the claimant is] not disabled.” Id. at §§ 404.1520(a)(4)(iv) & (e).
                     (5) Considering the Commissioner’s assessment of the claimant’s RFC, age,
             education, and work experience, if the claimant “can make an adjustment to other work,
             [the Commissioner] will find that [the claimant is] not disabled[,]” otherwise the
             Commissioner will find the claimant is disabled. Id. at §§ 404.1520(a)(4)(v), (f) & (g).

                                                          8




AO 72A
(Rev.8/82)
                 Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 9 of 31




             without adequately refuting it (id. at 25-29); and (3) that the ALJ failed to

             address the required regulatory factors in assessing Claimant’s credibility or

             adequately weigh Claimant’s testimony (id. at 29-31). The Magistrate

             recommended that the decision of the ALJ be affirmed. (Final Report &

             Recommendation [18] at 1.) Claimant makes three specific objections to the

             Report and Recommendation and, “[i]nstead of repeating the arguments raised

             in prior briefs, . . . incorporates them by reference[,]” requesting de novo review

             of Claimant’s initial brief. (Claimant’s Objections [19] at 9.)

                    As an initial matter, the Court declines to consider de novo all of

             Claimant’s arguments. A district court judge is empowered, in part to

             encourage efficiency, to designate a magistrate judge to conduct hearings and

             submit proposed findings of fact and recommendations. 28 U.S.C. §

             636(b)(1)(B); Mathews v. Weber, 423 U.S. 261, 267-68, 96 S. Ct. 549, 46 L.

             Ed. 2d 483 (1976); Nettles v. Wainwright, 677 F.2d 404, 406 (5th Cir. 1982).5

             Parties to a dispute upon which a Report and Recommendation has been made


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                     Although the Fifth Circuit has since overruled Nettles, see Douglass v. United
             Services Auto. Ass'n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc), Nettles remains
             binding precedent in the Eleventh Circuit because Douglass was decided after October
             1, 1981 and was not a Unit B decision. Jones v. Sec’y for Dep’t of Corr., 131 Fed. Appx.
             164, 166 n.3 (11th Cir. 2005).

                                                        9




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 10 of 31




             are invited to file objections to that Report and Recommendation. 28 U.S.C. §

             636(b)(1)(B) (“Within ten days after being served with a copy, any party may

             serve and file written objections to such proposed findings and

             recommendations as provided by rules of court.”). Under this system, when a

             party makes a timely and specific objection to a portion of the Report and

             Recommendation, the district court is obliged to engage in a de novo review of

             the issues raised on objection. Id. (“A judge of the court shall make a de novo

             determination of those portions of the report or specified proposed findings or

             recommendations to which objection is made.”) (emphasis added); United

             States v. Raddatz, 447 U.S. 667, 674, 100 S. Ct. 2406, 65 L. Ed. 2d 424 (1980);

             Nettles, 677 F.2d at 409. However, issues upon which no specific objections

             are raised do not so require de novo review; the district court may therefore

             “accept, reject, or modify, in whole or in part, the findings or recommendations

             made by the magistrate judge[,]” applying a clearly erroneous standard. 28

             U.S.C. § 636(b)(1); Nettles, 677 F.2d at 409 (“[T]he failure of a party to file

             written objections to proposed findings and recommendations in a magistrate’s

             report . . . shall bar the party from a de novo determination by the district judge

             of an issue covered in the report.”); see Liberty Am. Ins. Group, Inc. v.

                                                      10




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 11 of 31




             WestPoint Underwriters, L.L.C., 199 F. Supp. 2d 1271, 1276 (M.D. Fla. 2001)

             (“[T]he district court will review those portions of the R & R that are not

             objected [to] under a clearly erroneous standard.”); Am. Charities for

             Reasonable Fundraising Regulation, Inc. v. Pinellas County, 278 F. Supp. 2d

             1301, 1307 (M.D. Fla. 2003) (“[W]hen no timely and specific objections are

             filed, case law indicates that the court should review the findings using a clearly

             erroneous standard.”); Lombardo v. United States, 222 F. Supp. 2d 1367, 1369

             (S.D. Fla. 2002); Gropp v. United Airlines, Inc., 817 F. Supp. 1558, 1561-62

             (M.D. Fla. 1993); Chamblee v. Schweiker, 518 F. Supp. 519, 520 (N.D. Ga.

             1981) (“[W]hen [a] party is notified of [the] right to object to the magistrate’s

             report . . . and fails to do so, he or she has waived this right to de novo

             consideration of the issues raised in the case . . . [and] use of a standard of

             review more closely akin to the rule 52 ‘clearly erroneous’ standard is

             appropriate.”). As such, in accord with the intent of 28 U.S.C. § 636, the

             portions of the Report and Recommendation to which Defendant has made no

             specific objections will be reviewed to determine whether they are clearly

             erroneous, that is “if, after viewing all the evidence, [the Court is] ‘left with the

             definite and firm conviction that a mistake has been committed.’ ” HGI

                                                      11




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 12 of 31




             Assocs., Inc. v. Wetmore Printing Co., 427 F.3d 867, 873 (11th Cir. 2005)

             (quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395, 68 S. Ct. 525,

             92 L. Ed. 746 (1948)).

                   A.     Sufficiency of the RFC assessment

                   Claimant makes two basic arguments concerning the insufficiency of the

             ALJ’s RFC assessment. First, Claimant argues that the assessment itself was

             deficient for not following the rules set out by the Commissioner requiring a

             “narrative discussion” of the RFC assessment. (Claimant’s Br. [9-1] at 17-24.)

             Second, Claimant argues that the ALJ committed error by not considering a

             “sit/stand option” in the RFC assessment. (Id. at 24.) These arguments will be

             considered in turn.

                          1.       The RFC assessment was accompanied by an adequate
                                   narrative discussion

                   The RFC assessment is made prior to, and used in, steps four and five of

             the five-part evaluation under 20 C.F.R. § 404.1520. See 20 C.F.R. §

             404.1520(e). The Eleventh Circuit describes the RFC as “an assessment, based

             upon all of the relevant evidence, of a claimant’s remaining ability to do work

             despite his impairments.” Lewis v. Callahan, 125 F.3d 1436, 1440 (11th Cir.



                                                    12




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 13 of 31




             1997). The Commissioner, however, clarified the RFC assessment process in

             Social Security Ruling 96-8p:

                          The RFC assessment must include a narrative
                          discussion describing how the evidence supports each
                          conclusion, citing specific medical facts (e.g.,
                          laboratory findings) and nonmedical evidence (e.g.,
                          daily activities, observations). In assessing RFC, the
                          adjudicator must discuss the individual’s ability to
                          perform sustained work activities in an ordinary work
                          setting on a regular and continuing basis (i.e., 8 hours
                          a day, for 5 days a week, or an equivalent work
                          schedule), and describe the maximum amount of each
                          work-related activity the individual can perform based
                          on the evidence available in the case record. The
                          adjudicator must also explain how any material
                          inconsistencies or ambiguities in the evidence in the
                          case record were considered and resolved.

                   Claimant argued before the Magistrate that the ALJ had failed to provide

             the required narrative discussion of Claimant’s functional limitations in the

             RFC assessment. (Claimant’s Br. [9-1] at 17-24.) The Magistrate, however,

             found that the ALJ properly assessed Claimant’s RFC because the ALJ’s

             decision “contain[ed] a recitation and discussion of the medical evidence of

             record, the state agency consultants, and the Claimant’s testimony” and “[did]

             not make a conclusory, categorical RFC assessment (i.e., the ALJ did not make

             a simple, broad statement that the Claimant could perform the full range of light

                                                     13




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 14 of 31




             work[).]” (Final Report & Recommendation [18] at 30.) Claimant has filed no

             specific objections to the Magistrate’s conclusion on this issue and therefore the

             Court reviews it for clear error. The Court finds that the Magistrate’s Report

             and Recommendation concerning the RFC assessment was not clearly

             erroneous and that the ALJ’s RFC assessment was supported by substantial

             evidence. Therefore, the Court specifically adopts the recommendation of the

             Magistrate with regard to the sufficiency of the ALJ’s evaluation of Claimant’s

             RFC as found in Part Five (B)(1) of the Magistrate’s Report and

             Recommendation.

                          2.    The “Sit/Stand option” on remand

                   In the pre-remand decision from 1998, the ALJ found that Claimant

             “lacked the residual functional capacity to lift and carry more than 10 pounds

             frequently and 20 pounds occasionally, and perform activities requiring

             frequent bending. She also required a sit/stand option.” (Tr. 20.) After

             vacating the previous ALJ decision, the Appeals Council remanded the case to

             the Office of Hearings and Appeals, stating:

                          The Appeals Council agreed to remand in this case
                          because further development regarding the demands
                          of the claimant’s past relevant work is warranted. The

                                                     14




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 15 of 31




                          decision indicates that the claimant can perform a
                          range of light work not requiring frequent bending,
                          and providing the option to alternate between sitting
                          and standing. The decision further indicates that such
                          residual functional capacity would not preclude
                          performance of the claimant’s past relevant work as a
                          video store clerk, office clerk, and apartment leasing
                          manager, as generally performed in the national
                          economy. There is no evidence, however, clearly
                          indicating that any of those jobs would allow the
                          claimant to alternate between sitting and standing.
                          Further consideration is therefore warranted.

                          On remand, the Administrative Law Judge will further
                          develop the record regarding the demands of the
                          claimant’s past relevant work, and obtain evidence
                          from a vocational expert to clarify whether the
                          claimant could meet the demands of such work or
                          perform other work existing in significant numbers in
                          the national economy.

                   (Tr. 458 (emphasis added).)

                   In the post-remand ALJ decision, the ALJ found that Claimant had a RFC

             “to perform light exertion level work with occasional restrictions against

             bending, stooping or crouching.” (Tr. 451.) The ALJ did not, however,

             consider, or even mention, a “sit/stand option” in any portion of the post-

             remand decision. Claimant contends that it was error not to follow the remand

             order from the Appeals Council. The Court agrees.



                                                     15




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 16 of 31




                   On remand from the Appeals Council “[t]he administrative law judge

             shall take any action that is ordered by the Appeals Council and may take any

             additional action that is not inconsistent with the Appeals Council’s remand

             order.” 20 C.F.R. § 404.977(b) (emphasis added). In the instant case, the

             remand order noted that “[f]urther consideration” was warranted to determine

             whether Claimant’s former jobs would allow her to “alternate between sitting

             and standing.” The ALJ was specifically tasked with “further develop[ing] the

             record regarding the demands of the claimant[’]s past relevant work, and

             obtain[ing] evidence from a vocational expert to clarify whether the claimant

             could meet the demands of such work[.]” (Tr. 458 (emphasis added).) While

             the Appeals Council’s statements concerning the insufficiency of the previous

             ALJ’s decision in establishing that Claimant’s past relevant work would allow

             her to alternate between sitting and standing could be construed as simply

             conveying the pertinent facts, when read in the context of the entirety of the

             Appeals Council’s order remanding for further proceedings, the Court cannot

             subscribe to this view. The Appeals Council specifically mandated that “further

             develop[ment]” of the record was required with regard to the demands of

             Claimant’s past relevant work. In light of the Appeals Council’s statements that

                                                     16




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 17 of 31




             the previous decision was deficient because of its treatment of the “sit/stand

             option” and that further review was therefore required, this Court construes the

             Appeals Council’s remand order as requiring the consideration of the “sit/stand

             option,” even if that consideration entailed the debunking thereof. As such,

             because the “sit/stand option” was not considered or discussed, error has been

             committed. 20 C.F.R. § 404.977(b); See Thompson v. Barnhart, 2006 WL

             709795, **11-12 (E.D. Pa. March 15, 2006) (“The ALJ has . . . committed legal

             error by not following the mandate of the court, and by not following the

             regulations of the Social Security Administration itself which require adherence

             to the remand orders of the Appeals Council.”).

                     B.    Evaluation of Dr. Clark’s opinion

                     On March 24, 1997, Dr. Jelunder Clark, Claimant’s treating physician at

             that time, provided Claimant with a medical opinion letter stating, in pertinent

             part:

                           I have had the opportunity to review the records for
                           the treatment [Claimant] received from Charles
                           Johnson, MD. Having reviewed those records, it is
                           my opinion that she has been disabled from any
                           gainful employment except sedentary work since
                           1987. However, since 1976 Ms. Tauber has received
                           treatment for tension headaches, lumbosacral sprain,

                                                     17




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 18 of 31




                          and chronic lower back pain. Since 1979, she has
                          received treatment for anxiety and ulcers. She also
                          suffers from depression since 1984.

                          Ms. Tauber is disabled and has been since 1987.

                   (Tr. 423.)

                   The ALJ noted that “he [had] considered the opinion of Dr. Clark that

             Claimant [was] disabled, but [found] that Dr. Clark’s opinion that Claimant

             [was] disabled [was] not controlling” because the “issue of ‘disability’ is the

             ultimate issue which is reserved to the [ALJ]” and “involves vocational as well

             as medical issues.” (Tr. 448.) Claimant argued before the Magistrate that the

             ALJ erred by failing to address Dr. Clark’s opinion that Claimant was limited to

             sedentary work and by not attempting to “recontact Dr. Clark to clarify the

             reason for the disability opinion.” (Claimant’s Br. [9-1] at 28-29.) The

             Magistrate found that, although the Eleventh Circuit requires that a treating

             physician’s opinion should be afforded great weight unless good cause exists

             for rejecting it, Lewis, 125 F.3d at 1440, “Dr. Clark’s opinion has no

             evidentiary value” because her opinion was not based on her clinical findings

             and treatment of the Claimant, but on her evaluation of another treating

             physician’s records. (Final Report & Recommendation [18] at 39.)

                                                     18




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 19 of 31




                   Claimant objects to this portion of the Report and Recommendation

             because “the court cannot provide an explanation for the ALJ’s decision[; t]he

             Court can affirm the ALJ only if the reasoning in the decision itself is legally

             proper and supported by substantial evidence.” (Claimant’s Objections [19] at

             5 (citing NLRB v. Kentucky River Cmty. Care, Inc., 532 U.S. 706, 722 n.3, 121

             S. Ct. 1861, 149 L. Ed. 2d 939 (2001)).) The Court will proceed with a de novo

             review of the ALJ’s evaluation of Dr. Clark’s opinion.

                   The Social Security Administration’s regulations state that if a treating

             physician gives an opinion that is “well-supported by medically acceptable

             clinical and laboratory diagnostic techniques and is not inconsistent with the

             other substantial evidence in [Claimants] case record” it will receive

             “controlling weight.” 20 C.F.R. § 404.1527(d)(2). If a medical opinion is not

             found to be controlling, the agency will still apply a set of factors to determine

             the weight it should receive and the agency “will always give good reasons in

             [its] notice of determination or decision for the weight [it gave to Claimant’s]

             treating source’s opinion.” Id. The factors to be considered for both examining

             and non-examining physicians, see id. at § 404.1527(f), as listed in the

             regulation are: (1) the length of treatment; (2) the nature and extent of the

                                                     19




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 20 of 31




             treatment; (3) the extent of evidence presented by the physician to support the

             opinion; (4) the consistency of the opinion with the record as a whole; (5)

             whether the physician is a specialist; and (6) any other factors brought to the

             agency’s attention that would either support or contradict the opinion. Id. at §

             404.1527(d). Although 20 C.F.R. § 404.1527(e) indicates that opinions as to

             certain issues which are “dispositive of a case,” such as whether a claimant is

             disabled under the Act or whether a claimant maintains a specific RFC, are not

             “medical opinions” to which “special significance” will be attached, “opinions

             from any medical source about issues reserved to the Commissioner must never

             be ignored, and . . . the notice of the determination or decision must explain the

             consideration given to the treating source’s opinion(s).” Social Security Ruling

             96-5p (emphasis added).6 Opinions about both an individual’s RFC and

             whether that individual is disabled are “opinions of medical sources reserved to

                    6
                     Social Security Rulings are published “under the authority of the Commissioner
             of Social Security. They are binding on all components of the Social Security
             Administration. These rulings represent precedent final opinions and orders and
             statements of policy and interpretations that [the agency has] adopted.” 20 C.F.R. §
             402.35(b)(1); see Boone v. Barnhart, 353 F.3d 203, 210 n.16 (3d Cir. 2003); Wilson v.
             Comm’r of Soc. Sec., 378 F.3d 541, 550 n.1 (6th Cir. 2004); see also Sullivan v. Zebley,
             493 U.S. 521, 531 n.9, 110 S. Ct. 885, 107 L. Ed. 2d 967 (1990) (“Social Security
             Rulings are agency rulings published under the authority of the Commissioner of Social
             Security and are binding on all components of the Administration.”) (internal quotations
             omitted).

                                                       20




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 21 of 31




             the Commissioner” to which “the adjudicator must apply the applicable factors

             in 20 C.F.R. [§] 404.1527(d)[.]” Id.

                    In the instant case, Dr. Clark, a physician at Kaiser Permanente, where

             Claimant sought medical treatment, provided an opinion, in the form of a letter,

             stating that Claimant was “disabled from any gainful employment except

             sedentary work since 1987” and that Claimant “[was] disabled and [had] been

             since 1987.”7 The ALJ correctly determined that Dr. Clark’s opinion about

             Claimant’s ultimate disability was not “controlling,” as the “ultimate issue” of

             disability is an “opinion[] on [an] issue[] reserved to the Commissioner.” 20

             C.F.R. § 404.1527(e). Notwithstanding the apparent correctness of that

             determination, the ALJ was also required by Social Security Ruling 96-5p,

             which is binding on the ALJ, to specifically consider and discuss the factors

             listed in 20 C.F.R. § 404.1527(d) as to Dr. Clark’s opinions on both Claimant’s

             RFC and disability status. As such, it was error for the ALJ to dismiss Dr.

             Clark’s opinions without consideration and discussion of the regulatory factors.



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                     The Court views this, albeit short and seemingly conclusive, letter as providing
             two separate opinions: (1) that Claimant was unable to perform all but sedentary work
             since 1987; and (2) that Claimant was disabled since 1987. The first opinion is an RFC
             assessment and the second opinion is a disability assessment.

                                                       21




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 22 of 31




                   Moreover, under Eleventh Circuit jurisprudence, when examining the

             objective medical record, a treating physician’s opinion should be afforded

             great weight unless good cause exists for not doing so. Lewis, 125 F.3d at 1440

             (citing MacGregor v. Bowen, 786 F.2d 1050, 1053 (11th Cir. 1986); Broughton

             v. Heckler, 776 F.2d 960, 961-62 (11th Cir. 1985)). “Good cause” exists when

             the: “(1) treating physician’s opinion was not bolstered by the evidence; (2)

             evidence supported a contrary finding; or (3) treating physician’s opinion was

             conclusory or inconsistent with the doctor's own medical records.” Phillips v.

             Barnhart, 357 F.3d 1232, 1240-41 (11th Cir. 2004) (citing Lewis, 125 F.3d at

             1440). Further, the ALJ must clearly articulate his or her reasons when electing

             to disregard the opinion of a treating physician and the failure to do so

             constitutes reversible error. Id. at 1241 (citing Lewis, 125 F.3d at 1440); Lewis,

             125 F.3d at 1440; James v. Bowen, 810 F.2d 1001, 1005 (11th Cir. 1986).

                   Here, even assuming that the ALJ has adequately dismissed the opinion

             of Dr. Clark as to whether Claimant was “disabled,” Dr. Clark’s opinion that

             Claimant was limited to sedentary work was not addressed. On the record

             before it, the Court cannot discern what weight, if any, was attributed to Dr.




                                                     22




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 23 of 31




             Clark’s RFC opinion and, as such, cannot assess whether the ALJ had “good

             cause” in not considering that opinion.

                   Without question, the Court is reticent to remand a case where, as here,

             the procedural history is at best confusing and, in all likelihood, the end result

             was not incorrect. Although, based on both the brevity of Dr. Clark’s opinion

             and the conclusory nature thereof, the Court would likely conclude that good

             cause does exist, the reasons for dismissal of a physician’s opinion must be

             clearly articulated. Because the Court concludes that the ALJ’s decision was

             deficient in dismissing Dr. Clark’s opinion under both the relevant caselaw of

             the Eleventh Circuit requiring “good cause,” Lewis, 125 F.3d at 1440, and the

             relevant administrative regulations and rulings requiring the consideration and

             discussion of specific factors, 20 C.F.R. § 404.1527(d); Social Security Ruling

             96-5p, the ALJ’s decision was erroneous.

                   C.     Assessment of Claimant’s credibility

                   Claimant contends that, although the ALJ cited the proper standard for a

             credibility determination, the ALJ both failed to articulate any explicit or

             adequate reasons for finding that Claimant’s pain testimony was not credible

             and failed to consider the factors set out in 20 CFR § 404.1529. (Claimant’s Br.

                                                       23




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 24 of 31




             [9-1] at 29-30.) The Magistrate recommended that the ALJ’s decision be

             upheld and Claimant objected thereto.

                          1.    The mandatory factors were considered

                   Social Security Ruling 96-7p states that because “an individual’s

             symptoms can sometimes suggest a greater level of severity of impairment than

             can be shown by the objective medical evidence alone,” when assessing a

             claimant’s credibility, the ALJ must consider the factors set forth in 20 C.F.R. §

             404.1529 which include:

                          1. The individual’s daily activities;
                          2. The location, duration, frequency, and intensity of
                          the individual’s pain or other symptoms;
                          3. Factors that precipitate and aggravate the
                          symptoms;
                          4. The type, dosage, effectiveness, and side effects of
                          any medication the individual takes or has taken to
                          alleviate pain or other symptoms;
                          5. Treatment, other than medication, the individual
                          receives or has received for relief of pain or other
                          symptoms;
                          6. Any measures other than treatment the individual
                          uses or has used to relieve pain or other symptoms
                          (e.g., lying flat on his or her back, standing for 15 to
                          20 minutes every hour, or sleeping on a board); and
                          7. Any other factors concerning the individual’s
                          functional limitations and restrictions due to pain or
                          other symptoms.



                                                     24




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 25 of 31




                   Social Security Ruling 96-7p.

                   Upon review of the entirety of the ALJ decision, the Court finds that the

             ALJ considered the factors from 20 CFR § 404.1529. The record reveals that

             the ALJ considered and discussed: (1) that Claimant “watches television, shops

             at the mall, cooks, mops some, and drives” (Tr. 449); (2) that Claimant

             experiences pain in her back, neck, lower abdomen, left shoulder, legs, bowels,

             wrists, hands and feet (id. at 446-49); (3) that bending, sitting, standing,

             reaching, climbing up and down a stool, and household chores aggravate

             Claimant’s pain (id. at 449); (4) that Claimant has received treatment through

             Tagamet, antacids, B-12 injections, Motrin, and “Estrogens with Ogen cycling

             with Provera” (id. at 446-49); (5) that Claimant’s pain is alleviated by lying

             down frequently and sitting down after a few minutes of work (id. at 449); and

             (6) that repetitive movements aggravate the pain in Claimant’s left shoulder

             (id.). Although the ALJ did not discuss any non-medication treatments that

             Claimant received, Claimant points to nothing in the record to indicate that such

             evidence was before the ALJ. In any event, the failure to discuss this single

             factor was not fatal. In sum, the ALJ considered the factors set forth in Social




                                                      25




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 26 of 31




             Security Ruling 96-7p and 20 CFR § 404.1529 and, as such, the Court finds no

             error with that portion of the ALJ’s determination.

                                 2.     The ALJ’s determination of Claimant’s testimony was
                                        inadequate

                   The ALJ is bound to consider the “subjective evidence of pain and

             disability as testified to by the claimant and corroborated by other observers,

             including family members.” Bloodsworth v. Heckler, 703 F.2d 1233, 1240

             (11th Cir. 1983). If the ALJ decides not to credit a claimant’s testimony as to

             pain, the ALJ must articulate explicit and adequate reasons for doing so.

             Walker v. Bowen, 826 F.2d 996, 1004 (11th Cir. 1987); Hale, 831 F.2d at 1011;

             MacGregor, 786 F.2d at 1054. In making a credibility assessment, the ALJ

             must “consider the entire case record and give specific reasons for the weight

             given to the individual’s statements.” Social Security Ruling 96-7p. The

             reasons for making the credibility finding “must be grounded in the evidence

             and articulated in the determination or decision.” Id. Moreover, “[i]t is not

             sufficient to make a conclusory statement that ‘the individual’s allegations have

             been considered’ or that ‘the allegations are (or are not) credible.’ It is also not

             enough for the adjudicator simply to recite the factors that are described in the



                                                      26




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 27 of 31




             regulations for evaluating symptoms.” Id. The ALJ’s decision “must contain

             specific reasons for the finding on credibility, supported by the evidence in the

             case record, and must be sufficiently specific to make clear to the individual and

             to any subsequent reviewers the weight the adjudicator gave to the individual’s

             statements and the reasons for that weight.” Id.

                   In the instant case, the ALJ found that the claimant had testified that (1)

             she had left her job as a video clerk because she could not be on her feet or bend

             and experienced pain from such activities; (2) she had back and knee problems,

             as well as problems with her feet; (3) “she could stand for one hour, but could

             not stand in one position”; (4) she had problems “getting up and down from a

             stool”; (5) she had problems with her left arm, for which she had received

             treatment; and (6) repetitive arm movements bothered her left shoulder. (Tr.

             449.) The ALJ further found that Claimant had “good days and bad days,” but

             that she “had no problems doing the mental part of her work,” and that she

             “never quit a job due to problems with her hands.” (Id.) The ALJ also noted the

             testimony of Claimant’s husband that (1) he has seen Claimant lying down at

             work; (2) Claimant can vacuum for a few minutes but then has to sit down; (3)

             he sometimes is forced to wash the dishes because Claimant cannot stand for a

                                                     27




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 28 of 31




             long enough period; (4) when Claimant worked for the video store she could

             not stand or sit for any length of time; and (5) because of Claimant’s pain she is

             “grouchy” and doesn’t accept criticism very well. (Id.) The ALJ then correctly

             stated the requirements for making a credibility assessment, even citing to

             Social Security Ruling 96-7p. (Id.) In this regard, the ALJ stated:

                             In making this assessment, the undersigned must
                             consider all symptoms, including pain, and the extent
                             to which these symptoms can reasonably be accepted
                             as consistent with the objective medical evidence and
                             other evidence based on the requirements of 20 C.F.R.
                             § 404.1529, and Social Security Ruling 96-7p. The
                             undersigned must also consider any medical opinions,
                             which are statements from acceptable medical
                             sources, which reflect judgments about the nature and
                             severity of the impairments and resulting limitations
                             (20 C.F.R. § 404.1527 and Social Security Rulings
                             96-2p and 96-6p).

                    (Id.)

                    The ALJ’s credibility finding, as to Claimant’s testimony, was limited to

             stating that:

                             The claimant has impairments that are reasonably
                             expected to produce some degree of limitation, but her
                             complaints suggest a greater severity of impairment
                             than can be shown by the objective medical evidence
                             alone. Based on all of the evidence, the undersigned
                             finds that the claimant’s subjective allegations are

                                                      28




AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 29 of 31




                          credible to the extent that she can perform no more
                          tha[n] light exertion level work restricted against
                          bending, stooping or crouching. . . . The undersigned
                          notes that the claimant testified that she watches
                          television, shops at the mall, cooks, mops some, and
                          drives a car, which are activities that are consistent
                          with the assessed RFC for light exertional work.

             (Tr. 449-50.)

                   The Court concludes that the ALJ’s credibility determination, with regard

             to Claimant’s subjective pain testimony, is deficient for failing to articulate

             explicit and adequate reasons for the weight given to Claimant’s statements and

             the reason for that weight. In assessing Claimant’s credibility, the ALJ stated

             that Claimant’s subjective pain statements “suggest a greater severity of

             impairment than can be shown by the objective medical evidence alone.” While

             it is apparent that the ALJ perceives a conflict between Claimant’s testimony

             and the objective medical evidence, that conflict is not explained. In order to

             examine whether the ALJ’s decision to discredit Claimant’s testimony is

             supported by substantial evidence, as this Court is tasked to do, the ALJ must,

             at least, provide a record that indicates what the conflict is and how that conflict

             affected his credibility determination. Simply stating that the subjective

             complaints of pain “suggest a greater severity of impairment than can be shown

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AO 72A
(Rev.8/82)
                Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 30 of 31




             by the objective medical evidence” does not adequately apprise the Court, or

             the Claimant, of the weight with which the ALJ viewed Claimant’s testimony

             or, more importantly, why such a determination was made. As such, the ALJ’s

             credibility assessment does not articulate the explicit and adequate reasons

             required by the Eleventh Circuit, see Foote v. Chater. 67 F.3d 1553, 1562 (11th

             Cir. 1995) (“Explicit credibility findings are ‘necessary and crucial where

             subjective pain is an issue’ ”) (quoting Walden v. Schweiker, 672 F.2d 835, 839

             (11th Cir. 1982)); Walker, 826 F.2d at 1004, and Social Security Ruling 96-7p.

             The Court, therefore, concludes that the ALJ’s credibility assessment of

             Claimant’s subjective pain testimony was erroneous.

                                               Conclusion

                   For the reasons set forth above, Claimant’s Objections to the Magistrate’s

             Report and Recommendation [19] are AFFIRMED IN PART and

             OVERRULED IN PART; the Magistrate’s Report and Recommendation [18]

             is ADOPTED IN PART and REJECTED IN PART. Pursuant to 42 U.S.C. §

             405(g) his matter is hereby REMANDED to the Commissioner for further

             proceedings not inconsistent with this Order.




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AO 72A
(Rev.8/82)
             Case 1:04-cv-02552-RWS Document 20 Filed 03/31/06 Page 31 of 31




               SO ORDERED this 31st day of March, 2006.


                                            /s/ Richard W. Story
                                            RICHARD W. STORY
                                            UNITED STATES DISTRICT JUDGE




                                            31




AO 72A
(Rev.8/82)
